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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ERIN O’CALLAGHAN, VERONICA SHEPP,        )
KATHERINE LORENZ, ANNE KIRKNER,          )
SARAH MALONE, and MARLENE FRY            )
                                         )
                       Plaintiffs,       )                           Case No. 19-CV-6271
                                         )
                 v.                      )                           Judge John J. Tharp
                                         )
UNIVERSITY OF ILLINOIS AT CHICAGO,       )                           Magistrate Judge Weisman
PAUL SCHEWE, MICHAEL DIAZ, AMY TRUELOVE, )
and JOHN/JANE DOES 1-100,                )
                                         )
                       Defendants.       )

                   DEFENDANT’S MOTION FOR EXTENSION OF TIME
                        TO FILE ITS RESPONSIVE PLEADING

        Defendant, Paul Schewe, (“Schewe”) by and through his attorneys, Elvis Gonzalez Ltd.,

and for his Motion for Extension of Time to File a responsive pleading to the Complaint of Erin

O’Callahan, Veronica Shepp, Katherine Lorenz, Anne Kirkner, Sarah Malone, and Marlene Frey

(collectively “the Plaintiffs”), states:

        1.       Plaintiffs filed this lawsuit (“the Action”) on September 19, 2019, asserting

various claims against numerous defendants, including Schewe and his employer, the University

of Illinois (“the University”).

        2.      On September 30, 2019, counsel for Plaintiffs transmitted a Notice of Lawsuit and

Request to Waive Service of Process under Federal Rule of Civil Procedure 4 (“the Notice”).

Thereafter, Schewe executed and return the Notice. As such, Schewe’s responsive pleading is

due on or before December 2, 2019.
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         3.        After agreeing to waive service of process, Schewe submitted a request for legal

representation to the University. On November 8, 2019 the University informed Schewe that it

was declining to provide him legal representation in the Action.

         4.        Schewe has only recently retained the undersigned, and is finalizing an

engagement with additional counsel, who will all require additional time within which to

investigate the facts and claims asserted by the Plaintiffs. Accordingly, Schewe asks for an

additional 21 days within which to file his responsive pleading.

         5.        Schewe has not previously sought an extension in the Action.

         6.        Due to the Thanksgiving holiday, the undersigned was out of the office, and has

been unable to confer with Plaintiff’s counsel before filing the instant motion.

         WHEREFORE, Defendant, Paul Schewe, respectfully requests that this Court enter an

Order granting him an additional 21 days within which to respond to the Plaintiffs’ Complaint to

and until December 23, 2019, and for such other and further relief it deems just and equitable.

                                                        Respectfully submitted,

                                                        PAUL SCHEWE


                                                        By: /s Elvis D. Gonzalez______________
                                                            One of His Attorneys

Elvis D. Gonzalez (ARDC NO. 6280115)
ELVIS GONZALEZ, LTD.
233 South Wacker Drive, Suite 6149
Chicago, IL 60606
(312) 558-9779
egonzalez@elvisgonzalezltd.com
401745.1-11040.00600




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